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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             Case No. 16-CV-21008-MORENO/LOUIS


   JEFFREY MELTON, EZEKIEL MORRIS,
   TOMMY JOHNSON, JUAN VALDES, and
   MANVILLE SMITH,

          Plaintiffs,

   v.

   CENTURY ARMS, INC.; CENTURY
   INTERNATIONAL ARMS CORP.;
   CENTURY ARMS OF VERMONT, INC.; and
   CENTURY INTERNATIONAL ARMS OF
   VERMONT, INC.,

         Defendants.
   ____________________________________/

                             REPORT AND RECOMMENDATION

          THIS CAUSE comes before the Court on Plaintiffs’ Motion for Class Certification (ECF

   No. 81). The motion was referred to the undersigned United States Magistrate Judge by the

   Honorable Federico A. Moreno, United States District Judge, for a Report and Recommendation

   (ECF No. 100). An evidentiary hearing was held before the undersigned on November 7, 2018.

   Having reviewed the parties’ submissions, the record, applicable case law, and considered the

   arguments advanced by counsel and their witnesses at the hearing, the undersigned recommends

   that Plaintiffs’ Motion for Class Certification be DENIED.

                                     I.     BACKGROUND FACTS

          Plaintiffs Jeffrey Melton, Ezekiel Morris, Tommy Johnson, Juan Valdes, and Manville

   Smith (“Plaintiffs”) initiated this suit against Century Arms, Inc., Century International Arms

   Corporation, Century Arms of Vermont, Inc., and Century International Arms of Vermont, Inc.

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   (collectively, “Century” or “Defendants”). Century imports, manufactures, and sells AK-style

   semi-automatic rifles (ECF No. 81 at 3). Century imports the weapons it sells from

   manufacturers abroad. Plaintiffs allege that Century’s AK-47 rifles share a common defect, and

   that Century has failed to disclose or correct that defect: its semi-automatic rifles are sold with

   components of the original, fully automatic rifle, which enable the weapon to accidentally fire

   when the safety selector is manipulated beyond the “safe” position.

              Resolution of the present motion requires an understanding of how an AK-47 rifle

   operates.1 A typical semi-automatic AK-47 rifle is equipped with a safety selector, which can be

   put in either the “safe” or “fire” position. Generally, for a semi-automatic rifle to discharge, the

   safety selector must be put in the “fire” position, and an individual must manually pull the

   trigger, which releases the hammer (a spring-like mechanism) and causes a single bullet to

   discharge. After the firearm discharges, a device called the disconnector catches the hammer to

   prevent the firearm from firing another round automatically. When the trigger is released, the

   disconnector snaps back and releases the hammer.

              In a fully-automatic AK-47, a wider safety selector, known as a fully-automatic safety

   selector, prevents the disconnector from catching the hammer, and therefore allows the firearm

   to discharge several rounds of bullets automatically. A semi-automatic safety selector, by

   comparison, is narrower or “notched” and thus interacts differently with the disconnector. A

   typical AK-47 rifle also has a dust cover, a protective cover on top of the receiver (the body

   holding the trigger, safety, and bolt mechanisms) that prevents dust and debris from entering the

   receiver. The dust cover, which varies in shape and size depending on the model, may, in certain

   circumstances, serve to prevent the safety selector from over-rotating upward beyond the normal

   “safe” position.
   1
       These facts are compiled from the exhibits to the motion and response in opposition, and are uncontested.

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           Federal laws require Century to modify the weapons before selling them in the United

   States. See 18 U.S.C. § 922(r). Compliance with these laws requires Century to disassemble and

   reconfigure the imported weapons (ECF No. 87-4 at 70-71).2 Specifically, 18 U.S.C. § 922(r)

   limits the number of foreign parts that Century may use on its imported semi-automatic firearms.

   The reconfiguration process entails importing a group of foreign weapons, disassembling them,

   destroying the receiver and barrel, and then cataloging the remaining parts as firearm kits that

   can either be sold as part kits, or reassembled into new firearms using a combination of foreign

   and domestic parts (ECF No. 87-4 at 70-71). Typically, the hammer, trigger, sear, and gas tube

   are replaced in each firearm, but the original, foreign-made safety selector and dust cover are not

   (ECF No. 87-4 at 171-172). “Original” in this context means not the safety selector that was

   originally fitted in a particular weapon, but the safety selector originally manufactured abroad for

   that weapon model. Only a finite number of weapons can be assembled from each kit.

           Firearms that are sold under the same model name, if derived from different kits

   originating in different countries, may contain different parts (ECF No. 193 at 165). For

   example, the WASR-10 is generally manufactured using new U.S. parts, or new Romanian parts

   from the Romanian factory, but the WASR-10/63 is “remanufactured into a WASR-10

   configuration” using original parts from a 1963 machine gun (ECF No. 193 at 164-166).

           At the hearing, Mr. Burnor and Century’s quality manager, Mr. Andrew Chamberlin,

   both explained that even among same model weapons, the safety selectors and dust covers in

   each firearm will vary in the Class Weapons, depending on their country of origin (ECF No. 193

   at 165, 109).3 For example, some dust covers have ribs, bumps, or ledges, while others are flat;


   2
     Century sells some firearms as “as-is” because they are classified as sporting rifles under U.S. regulations (ECF
   No. 81, FN. 6).
   3
     Similarly, Century’s interrogatory responses confirm that the safety selectors in the Class Weapons vary, and can
   be “original, surplus or manufactured by Defendant on a firearm by firearm basis.” (ECF No. 87-18).

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   some safety selectors are fully automatic, while others are semi-automatic (ECF No. 193 at 108-

   109). Similarly, there is variance among the U.S. parts that Century uses to reconfigure each set

   of weapons (ECF No. 193 at 165). Which type of hammer, trigger, or sear is used in any given

   firearm batch depends on the vendor supplying these parts (ECF No. 193 at 141). The Class

   Weapons also have different types of disconnectors, such as flat-back disconnectors, tabbed

   disconnectors, and notched disconnectors (ECF No. 193 at 209-214). And the decision of which

   foreign parts to replace, and with which U.S. parts, is made on a “case-by-case” basis (ECF No.

   87-4 at 171-172).

          Plaintiffs allege that thirty-six different models of semi-automatic firearms sold by

   Century (the “Class Weapons”) are defective because they contain foreign-made, fully-automatic

   safety selectors intended for fully-automatic, not semi-automatic, firearms. Plaintiffs contend

   that the fully automatic safety selectors on the Class Weapons are capable of accidentally firing

   the gun when the safety selector is raised above the “safe” position and rotated above the dust

   cover. Accordingly, Plaintiffs allege the existence of a common “Class Defect,” defined as guns

   that “will fire if the safety selector is raised above the dust cover” (ECF No. 81 at 1).

          Plaintiffs allege that Century has known about this defect since at least 2008, but has

   failed to warn the public of this defect, and has failed to recall the allegedly defective rifles, or

   make remedial changes to prevent the defect. Century’s failure to disclose the defect, Plaintiffs

   allege, is a deceptive act that caused each putative class member to purchase a Class Weapon for

   more than that weapon is truly worth, to the detriment of the class member and to the unjust

   enrichment of Century.

          Each named Plaintiff owns a different model Century AK-47 rifle, each of which exhibits

   the Class Defect. Of the thirty-six models Plaintiffs include in the class definition, only five of



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   those models are in fact owned by a named plaintiff—GP 1975 (owned by Plaintiff Melton),

   M70 OPAP (owned by Plaintiff Morris), N-PAP (owned by Plaintiff Johnson), M70AB2 (owned

   by Plaintiff Valdes), and M70 (owned by Plaintiff Smith).4 No named plaintiff is alleged to have

   owned any of the other thirty-one models that Plaintiffs define within the Class Weapons.5

            Plaintiffs’ complaint alleges ten counts against Century for violations of the Florida

   Deceptive and Unfair Trade Practices Act (“FDUTPA”) (Count 1); negligence (Count 2); strict

   liability (Count 3); breach of implied warranty or merchantability (Count 4); violations of the

   Magnuson-Moss Warranty Act (Count 5); fraudulent inducement and/or suppression (Count 6);

   negligent failure to disclose, failure to warn, concealment and misrepresentation (Count 7);

   fraudulent concealment and intentional failure to warn (Count 8); wrongful and/or unjust

   enrichment (Count 9); and declaratory relief (Count 10) (ECF No. 1). Defendants moved to

   dismiss Plaintiffs’ complaint, and, on March 20, 2017, Judge Moreno entered an order granting

   the motion in part (ECF No. 20).

            In deciding the Motion to Dismiss, the Court conducted a choice of law analysis to

   determine which state law applied to the claims of the respective Plaintiffs, three of whom live

   and reside in Florida (Johnson, Valdes, and Smith), one who resides in Illinois (Morris), and one

   who resides in Tennessee but purchased his rifle in Arizona (Melton). After determining that

   Plaintiffs’ alleged injuries occurred at the point of purchase, the Court analyzed each Plaintiffs’

   state tort claims under the state law of the place of purchase: Florida, Illinois, and Arizona. With

   respect to Plaintiffs’ FDUTPA claim, the Court concluded that sufficient allegations had been


   4
     Only one named Plaintiff, Juan Valdes, reports that an accidental discharge has actually occurred; the other
   Plaintiffs claim only to be aware of the risk of accidental discharge.
   5
     Though not alleged in the Complaint, Plaintiff Morris testified at deposition that he purchased another Century
   model rifle, an AES 10-B, after the Complaint was filed, in October 2016 (ECF No. 86-6 at 98). Because he
   purchased the rifle after the defined class period, it is not a Class Weapon as Plaintiffs defined that term and, indeed,
   Morris explained that his AES 10-B lacked the defining characteristic common to the Class Weapons: it was
   equipped with a notched safety selector, not the wide fully-automatic selector.

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   raised to overcome Defendants’ motion to dismiss on the grounds that Plaintiffs Melton and

   Morris lacked standing to sue under FDUTPA. The Court observed that the analysis required

   factual findings that would be revisited at the class certification stage.

            As a result of the Court’s Order on the Motion to Dismiss, the surviving claims for which

   Plaintiffs seek certification are Plaintiffs’ FDUTPA claim (Count 1), premised on Century’s

   failure to disclose the defective safety lever; and Plaintiffs’ unjust enrichment claim (Count 9),

   based on the profits Century derived from selling defective firearms at full price (ECF No. 20).6

   In the instant motion, Plaintiffs seek to certify a class on behalf of7:

             All individuals in the United States who, on or before March 18, 2016,8
             purchased a Century AK-47 model pattern firearm imported or manufactured by
             Century, limited to the following model platforms: WASR; M70AB2; RPK;
             DRAGUNOV; AMD65; C39v1 (excluding C39v2); M72; GP 1972; 1975 AK
             Bullpup; Golani; 2007 Champion Pistol; Galil; Draco Pistol; PLS54C; M70B1;
             M70B2; M76; AK74; Tantal; AES10B; 1960AK; AKMS; GP 1975; Saiga
             (excluding shotguns); PAPM85; PAPM92; M70; M74; N-PAP; GPAK 74;
             MAK- 22; PAPM90; MAADI; MAK-90; and AK63D.

            Alternatively, Plaintiffs seek to certify the following state classes under the consumer

   protection laws for each respective state:

            All individuals in the jurisdictions of Arizona, Florida, and Illinois who, on or
            before March 18, 2016, purchased a Century AK-47 model pattern firearm
            imported or manufactured by Century, limited to the following model platforms:
            WASR; M70AB2; RPK; DRAGUNOV; AMD65; C39v1 (excluding C39v2);
            M72; GP 1972; 1975 AK Bullpup; Golani; 2007 Champion Pistol; Galil; Draco
            Pistol; PLS54C; M70B1; M70B2; M76; AK74; Tantal; AES10B; 1960AK;
            AKMS; GP 1975; Saiga (excluding shotguns); PAPM85; PAPM92; M70; M74;
            N-PAP; GPAK 74; MAK-22; PAPM90; MAADI; MAK-90; and AK63D.

   Plaintiffs also seek to certify a nationwide class for their unjust enrichment claim, which they

   define in the same manner as their proposed FDUTPA classes. At the hearing on this motion, the
   6
     In addition, Plaintiffs Melton and Morris have surviving claims of fraudulent inducement (Count 6); negligent
   failure to disclose, failure to warn, concealment, and misrepresentation (Count 7); and fraudulent concealment and
   intentional failure to warn (Count 8). Further, Plaintiff Melton alone has claims for negligence (Count 2) and strict
   liability (Count 3), though these claims are not the subject of Plaintiffs’ Motion for Class Certification.
   7
     Plaintiffs’ proposed class definitions were revised in Plaintiffs’ Reply to Defendants’ Opposition to Plaintiffs’
   Motion for Class Certification (ECF No. 102).
   8
     The proposed date limiter relates to the date on which the Complaint was filed.

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   Court heard live testimony from Plaintiffs’ expert, David Byron; Defendants’ corporate

   representatives, Andrew Chamberlin and Philip Burnor; and Defendants’ experts, Rick Vasquez

   and Derek Watkins.

                                        II.      LEGAL STANDARD

          In order to state a claim that is appropriate for class treatment, the Federal Rules of Civil

   Procedure require that the suit meet four prerequisites, commonly referred to as numerosity,

   commonality, typicality, and adequacy of representation. See Piazza v. EBSCO Industries, Inc.,

   273 F.3d 1341, 1345 (11th Cir. 2001). Specifically, the Rule states that:

          One or more members of a class may sue or be sued as representative parties on
          behalf of all members only if: (1) the class is so numerous that joinder of all
          members is impracticable; (2) there are questions of law or fact common to the
          class; (3) the claims or defenses of the representative parties are typical of the
          claims or defenses of the class; and (4) the representative parties will fairly and
          adequately protect the interests of the class.

   Fed. R. Civ. P. 23(a).

          To be certified as a class action, the case must also meet one of three additional

   requirements of Rule 23(b). Here, Plaintiffs seek class certification pursuant to Rule 23(b)(3).

   Rule 23(b)(3) requires a plaintiff to prove that common questions predominate over any

   questions affecting only individual members; and that class resolution is superior to other

   available methods for the fair and efficient adjudication of the controversy. See Harris v. Nortek

   Glob. HVAC LLC, No. 14-CIV-21884, 2016 WL 4543108, at *3 (S.D. Fla. Jan. 29, 2016) (citing

   Amchem Products, Inc. v. Windson, 521 U.S. 591, 615 (1997)).

                                              III.   DISCUSSION

          A. Class Definition

          Before a court may grant a motion for class certification, “a plaintiff…must establish that

   the proposed class is adequately defined and clearly ascertainable.” Little v. T-Mobile USA, Inc.,

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   691 F.3d 1302, 1304 (11th Cir. 2012). “An identifiable class exists if its members can be

   ascertained by reference to objective criteria.” See Bussey v. Macon Cty. Greyhound Park, Inc.,

   562 F. App’x 782, 787 (11th Cir. 2014) (internal citations and quotations omitted). Many courts

   in our circuit require that the objective criteria be “administratively feasible,” which means that

   the identification of class members is a “manageable process that does not require much, if any,

   individual inquiry.” See Bussey, 562 F. App’x at 787; Karhu v. Vital Pharm., Inc., 621 F. App’x

   945, 946 (11th Cir. 2015).9 Accordingly, “a court should deny class certification where the class

   definitions are overly broad, amorphous, and vague, or where the number of individualized

   determinations required to determine class membership becomes too administratively difficult.”

   Perez v. Metabolife Int’l, Inc., 218 F.R.D. 262, 269 (S.D. Fla. 2003).

            Plaintiffs define the nationwide class as individuals who, on or before March 18, 2016,

   purchased a Class Weapon imported or manufactured by Century.10 The proposed definition is

   over-inclusive, as the class would include purchasers of firearm models that are not actually

   owned by any named Plaintiffs. Plaintiffs contend that this problem is cured by their proof of

   uniformity of the Class Defect in all Class Weapons. Of the thirty-six models of weapons

   included in Plaintiffs’ proposed definition, Plaintiffs collectively own only five of the thirty-six

   Class Weapon models. Plaintiffs’ decision to include the additional thirty-one models was based

   on Century’s answer to an interrogatory, which asked Century to identify which models had the

   “Alleged Defect” (ECF No. 87-18). Century responded to Plaintiffs’ interrogatory by denying


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     In the recent Eleventh Circuit opinion Ocwen Loan Servicing, LLC v. Belcher, No. 18-90011, 2018 WL 3198552,
   at *3 (11th Cir. June 29, 2018), the Court noted that the Eleventh Circuit has not yet addressed in a published
   opinion whether the plaintiff must demonstrate an “administratively feasible” method for determining class
   membership – which is the “highest standard among the various circuits” – in addition to the express requirements
   of Rule 23. Id. While this proposed class may exemplify administrative infeasibility, class certification fails even at
   the lower standard.
   10
      Plaintiffs’ alternative proposed definition, which would limit class members to purchasers “in” the states of
   Arizona, Florida and Illinois, suffers from the same infirmities as the proposed nationwide class and is accordingly
   not separately analyzed.

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   the existence of a defect, but noting that the “presumed configuration” identified by Plaintiffs

   “may” exist in a series of models listed by Century (ECF No. 87-18). Plaintiffs’ class definition

   is thus based on this list of models on Plaintiffs’ contention that all weapons across these

   platforms in fact uniformly exhibit the alleged defect, relying on their expert’s opinion.

           Plaintiffs’ expert, David Byron, offered his opinion that the Class Weapons all exhibit a

   common defect. Included in the definition of Class Weapons are thirty-six different model rifles,

   with over 100 variants. Century constructed each rifle of surplus parts from rifles manufactured

   up to sixty years ago, imported from different countries, and at different time periods. In order to

   reach his conclusion, Mr. Byron inspected a total of seven11 AK-style rifles, and opined that the

   alleged Class Defect exists in over 1,250,000 firearms. In his affidavit, Mr. Byron explains that

   in order to apply his findings with respect to the seven rifles he examined to the dozens of

   models of firearms that he did not examine, he relied on a review of discovery from Century,

   which included quality inspection instructions, component blueprints, and assembly worker

   instructions for the Class Weapons. Mr. Byron relied on these documents, and other blueprints

   he obtained from the internet, to reach the conclusion that each of the Class Weapons were

   identically configured in conformity with those instructions and blueprints.

           At the hearing, however, Century presented credible evidence that undermines Mr.

   Byron’s conclusion. Century’s quality control manager, Andrew Chamberlin, testified that

   Century does not have blueprints for foreign parts, and that the blueprints it does have for certain


   11
     Mr. Byron later inspected approximately 100 Century weapons following Defendants’ disclosure of their expert,
   Mr. Watkins, who conducted an examination of stored weapons selected by Century’s corporate representative and
   opined therefrom that approximately 34% of those he inspected were capable of firing in the manner alleged, but
   only by removing the dust cover. Mr. Byron reviewed the same weapons and reached different conclusions,
   including his opinion that many of the rifles examined by Mr. Watkins were “nonconforming” and appeared to have
   been manipulated in order to not exhibit the defect. Neither expert’s inspection, or ensuing affidavit, aided the
   undersigned’s analysis or form the basis of the findings in this order that the evidence fails to demonstrate
   uniformity in the alleged defects. Notwithstanding the same, the Court has considered and relied on the testimony
   presented by the respective experts at the hearing.

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   weapons are meant to be used as training aids for the assemblers, not as guidelines for operators

   to reject firearms for sale (ECF No. 193 at 115-117). Absent proof that Century in fact relies

   upon the blue prints or instructions in the manner Mr. Byron assumed for his opinion it does,

   there is no basis for finding the uniformity in configuration he urges across all Class Weapons.

           Mr. Byron’s opinion as to uniformity is further undermined by Century’s evidence

   demonstrating the overwhelming variance in configurations among the Class Weapons. For

   example, Plaintiffs (through Mr. Byron) contend that it is the presence of a fully-automatic safety

   selector in the Class Weapon that causes the alleged Class Defect. Century’s expert, Mr. Derek

   Watkins12 testified and explained that whether any single firearm can be made to accidentally

   discharge will depend on the specific part configuration present in that particular weapon (ECF

   No. 193 at 176, 220). The shape of the safety selector is not dispositive: if a rifle is configured

   with a tabbed or notched disconnector, those components can move past each other and prevent

   the rifle from exhibiting the Class Defect even if it has a fully automatic safety selector. This

   combination of components is present in certain rifles within the class definition, which were

   identified at the hearing by Mr. Chamberlin. (ECF No. 193 at 209-214).

           Even the rifles that do have the same parts may behave differently. Century’s expert, Mr.

   Watkins, explained that tolerances, or minor variations between each weapon such as exact hole

   size and location, will affect the alignment of the components and exhibition of the alleged

   defect (ECF No. 193 at 199-204). As such, an individual examination of each firearm would be

   required to determine whether any individual firearm is capable of accidentally discharging, as



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     Plaintiffs moved to strike the expert report and deposition testimony of Mr. Watkins (ECF No. 109), specifically
   challenging his opinions reached as a result of an examination of approximately 100 Century rifles. As more fully
   explained by separate order, Plaintiffs’ motion is not well founded and no grounds are set forth therein for Mr.
   Watkins’ exclusion. Similarly, the Court defers ruling on Plaintiffs’ Motions to Strike Robert E. McCormick (ECF
   No. 107), Richard Vasquez (ECF No. 108), Stephen L. Young (ECF No. 110) because the Court’s Report and
   Recommendation on Class Certification does not rely on any of these experts’ opinions.

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   alleged by Plaintiffs. Indeed, at the hearing, Plaintiffs’ expert, Mr. Byron, unequivocally

   acknowledged that in order to determine which parts were in each after-market rifle, one would

   need to look at individual weapons. (ECF No. 193 at 58-59).

          In sum, the record evidence fails to support Plaintiffs’ contention that the Class Weapons

   all exhibit the Class Defect. Recognizing this lack of uniformity, Plaintiffs’ counsel proposed at

   the hearing that the class definition could be modified to be conditioned on the putative class

   members’ ability to show that their firearm actually contain the alleged defect. This proposal is

   logistically unworkable. Plaintiffs’ proposed class is not limited to current owners of the Class

   Weapons but to all purchasers. Requiring proof of the actual defect as a condition of class

   membership would defeat participation of purchasers who no longer own the rifle. Plaintiffs’

   counsel acknowledged this would impose a burden on certain putative class members (ECF No.

   193 at 258). Plaintiffs’ counsel similarly acknowledged the difficulty inherent in certifying a

   class of used weapon purchasers, who may have themselves replaced the safety selectors, or

   other parts, of their firearms and therefore would not be properly included as class members.

          Finally, considering ascertainability, the undersigned finds that identifying the proposed

   class members would be uncertain and unmanageable. Century generally sells its firearms to

   federally licensed firearm distributors who resell their weapons to retailers for sale to individual

   consumers (ECF No. 87-18 at 13). Plaintiffs propose to identify class members by contacting the

   retailers through whom Century distributed 1,125,068 of the Class Weapons and requesting that

   retailers produce a list of the purchasers of these weapons. Plaintiffs note that retailers are

   required by law to retain contact information for customers who purchase weapons. Defendants

   respond that federally licensed firearm distributors are only required to retain records for twenty

   years, and that, in many cases, retailers who close or change their corporate structure are required



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   to return their records to the Bureau of Alcohol, Tobacco, Firearms and Explosive, making

   identification of these purchasers especially difficult.

          Plaintiffs’ proposal for ascertaining the class members suffers from multiple problems.

   First, Plaintiffs’ reliance on Century’s distributors to be able to identify customers who

   purchased Class Weapons is not substantiated. Plaintiffs have not shown that the customer lists

   that constitute the basis for their plan of class membership identification in fact exist, or what

   data has been maintained by the subject distributors, as is their burden. See Luedke v. Delta

   Airlines, Inc., 155 B.R. 327, 332 (S.D.N.Y. 1993) (denying motion for class certification where

   plaintiffs did not show that the lists, which constitute the basis for their plan of identifying class

   members, existed in any reliable form). “A plaintiff cannot establish ascertainability simply by

   asserting that class members can be identified using the defendant’s records; the plaintiff must

   also establish that the records are in fact useful for identification purposes, and that identification

   will be administratively feasible.” Karhu v. Vital Pharm., Inc., 621 F. App'x 945, 948 (11th Cir.

   2015). In Karhu, the Eleventh Circuit affirmed the district court’s finding that the plaintiffs did

   not meet the ascertainability requirement to certify a class of purchasers of a weight-loss

   supplement. There, the court determined that the plaintiff’s proposal to use general “sales data”

   to identify class members was “incomplete,” “bare,” and lacked sufficient explanation as to how

   exactly the data would aide class-member identification. Id. at 949-50. Similarly here, Plaintiffs’

   have not advanced evidence showing that the identified retailers have the data Plaintiffs seek.

          Moreover, even if retailers had retained documents from which some class members may

   be identified, at best their records would only reach a fraction of putative class members under

   Plaintiffs’ proposed definition, which includes everyone in the chain of ownership—not just the

   original purchasers. The class definition includes members who purchased weapons through



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   third parties in private transactions, including Plaintiff Smith who purchased his Class Weapon

   from his father (ECF No. 87-13 at 12). Determination of class membership would therefore

   require identification of secondary (and tertiary and beyond) market purchasers sufficient to

   determine who is entitled to notice of the suit and critically, who would be bound by any

   resulting judgment.

          At the hearing, Plaintiffs proposed that the secondary market purchasers could be

   identified through social media by using blogging platforms frequented by gun aficionados.

   Plaintiffs’ proposal goes to notice, not ascertainability: the undersigned does not doubt the

   potential to notify a broad group of potential class members through such websites, but doing so

   does not alleviate the problems that were likewise detrimental to the class certification in Karhu

   and Perez. In Perez, the Court determined that ascertainability could not be established when

   “the only evidence likely to be offered in many instances will be the putative class member’s

   uncorroborated claim that he or she used the product.” Perez, 218 F.R.D. at 269. The fact that

   Plaintiffs may be able to notify a large group of putative class members does not, alone, establish

   ascertainability. See also LaBauve v. Olin Corp., 231 F.R.D. 632, 684 (S.D. Ala. 2005) (holding

   that the possibility of publication notice does not establish ascertainability because “publication

   notice may be both over inclusive and under inclusive in identifying class members.”).

          Plaintiffs’ proposed class definitions suffer from a final infirmity: the class would include

   purchasers who suffered no damages. Plaintiffs’ FDUTPA claim is premised on Defendants’

   failure to disclose the alleged defect, and the decreased “effectiveness and performance” and

   attendant value of the Class Weapons (ECF No. 1 at 22). Plaintiffs accordingly seek monetary

   damages for the diminished value of the Class Weapons. However, under the proposed

   definitions, the putative class would include individuals who purposefully purchased dated



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   firearms as collectibles, never intending to actually use them and thus never having been

   deceived or suffered any loss from their purchase.

          Plaintiffs contend that the record is devoid of evidence of consumers who purchased

   firearms as collectibles, seeking firearms with original parts, even if defective. However, both

   Plaintiff Morris, who identifies as a gun collector, and Plaintiffs’ expert, Mr. Byron, agreed that

   that gun collectors want as many original parts as possible in their firearms, and Mr. Byron noted

   that most of such firearms would never be used by consumers, but rather only displayed (ECF

   Nos. 87-6 at 17-18, 87-7 at 202). As such, the evidence demonstrates that Plaintiffs’ proposed

   class definitions would include consumers who suffered no harm, and would have no viable

   FDUTPA claim. See See Walewski v. ZeniMax Media, Inc., No. 6:11-CV-1178-ORL-28, 2012

   WL 834125, at *4 (M.D. Fla. Jan. 30, 2012), report and recommendation adopted, No. 6:11-CV-

   1178-ORL-28, 2012 WL 847236 (M.D. Fla. Mar. 13, 2012), aff’d, 502 F. App’x 857 (11th Cir.

   2012) (affirming denial of class certification where, in relevant part, plaintiff failed to set forth a

   workable method for identifying which members were injured and thus should be included as

   part of the class). Similarly, with respect to Plaintiffs’ unjust enrichment claim, at the hearing,

   Plaintiffs’ counsel candidly acknowledged that their unjust enrichment claim would not extend to

   secondary purchasers who conferred no benefit on Century.

          For the reasons set forth above, the undersigned finds that the proposed class is neither

   adequately defined nor ascertainable for class certification purposes.

          B. Certification Under Rule 23

          Despite the absence of an adequately defined and ascertainable class, and recognizing

   that class definition could be modified, the Court also addresses the Rule 23 criteria.

                  a. Rule 23(a)(1)-Numerosity



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          The numerosity requirement of Rule 23 requires a district court to determine “whether

   ‘the class is so numerous that joinder of all members is impracticable.’” Vega v. T-Mobile USA,

   Inc., 564 F.3d 1256, 1266-67 (11th Cir. 2009) (quoting Fed. R. Civ. P. 23(a)(1)). Generally, “a

   group of more than 40 satisfies numerosity, a group of fewer than 21 does not, and the numbers

   in between are subject to judgment based on additional factors.” Kelecseny v. Chevron, U.S.A.,

   Inc., 262 F.R.D. 660, 668 (S.D. Fla. 2009). The Eleventh Circuit has explained that “[a]lthough

   mere allegations of numerosity are insufficient to meet this prerequisite, a plaintiff need not

   show the precise number of members in a class.” Vega, 564 F.3d at 1266-67 (internal citations

   and quotations omitted). Nonetheless, a plaintiff seeking to certify a class must make a showing

   with factual support that the numerosity requirement will be satisfied.

          Plaintiffs claim, and Defendants do not dispute, that the numerosity requirement is

   satisfied by the “over one million Class Weapons” sold and identified as belonging to the

   Nationwide class. In support of their proposition, Plaintiffs cite to the deposition testimony of

   Century’s corporate representative, Mr. Burnor, who estimates that about one million of the

   Class Weapons have been sold (ECF No. 87-4 at 54). In light of this evidence, and in the absence

   of evidence to rebut the same, the Court agrees that Plaintiffs have made a showing that the

   number of actual members in the nationwide class will be so high that “joinder of all members is

   impracticable.” Fed R. Civ. P. 23 (a)(1).

          With respect to Plaintiffs’ proposed classes composed of citizens of the states of Florida,

   Illinois, and Arizona to pursue the state consumer laws of those respective states, no evidence

   has been advanced to demonstrate the number of putative class members for any of those classes.

   Even where numerosity is not contested, the Court must evaluate the record evidence of class

   membership to satisfy itself that this element is met. The Court may not surmise from the



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   evidence of total Class Weapons sold that the number sold in the three representative state would

   be so numerous as to make joinder impractical. See Marcus v. BMW of N. Am., LLC, 687 F.3d

   583, 595 (3d Cir. 2012) (reversing class certification and finding district court erred by relying

   on the evidence of nationwide presence of defendant’s service to satisfy the numerosity

   requirement without state-specific evidence). For this additional reason, the undersigned does not

   recommend certification of Plaintiffs’ proposed alternative class, defined as persons “in” Florida,

   Illinois, or Arizona.

          b. Rule 23(a)(3)-Typicality

          Rule 23(a) requires that “the claims or defenses of the representative parties are typical of

   the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). “[T]he typicality requirement is

   permissive: representative claims are ‘typical’ if they are reasonably co-extensive with those of

   absent class members; they need not be substantially identical.” In re Checking Account

   Overdraft Litig., 275 F.R.D. 666, 674 (S.D. Fla. 2011) (citing Brown v. SCI Funeral Servs. of

   Fla., Inc., 212 F.R.D. 602, 605 (S.D. Fla. 2003)). Accordingly, a plaintiff must generally

   establish that a “sufficient nexus exists between the legal claims of the named class

   representatives and those of individual class members to warrant class certification.” Piazza v.

   Ebsco Indus., Inc., 273 F.3d 1341, 1346 (11th Cir. 2001) (internal citations and quotations

   omitted). Said differently, a plaintiff must show that the claims of the named representatives

   share “the same essential characteristics as the claims of the class at large.” Prado-Steiman ex

   rel. Prado v. Bush, 221 F.3d 1266, 1279, n.14 (11th Cir. 2000) (internal citations and quotations

   omitted). As such, “a strong similarity of legal theories will satisfy the typical requirement

   despite substantial factual differences.” Id.




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          Century raises several arguments in opposition to a finding of typicality. Century first

   argues that the named representatives’ claims are not typical of the class because Plaintiffs

   Melton and Morris have individual causes of actions, which are different than the FDUTPA and

   unjust enrichment claims that the Plaintiffs seek to certify. However, Mr. Melton’s and Mr.

   Morris’s individual causes of actions are not the subject of this instant motion for class

   certification, and the nature of those claims are irrelevant to deciding whether or not their

   FDUTPA and unjust enrichment claims are typical of the putative class members. Similarly,

   Century contends that Plaintiff Johnson continued to use his firearms after learning of the defect,

   but offers no explanation how this impacts his claim that Century deceived him by failing to

   disclose a known defect before he bought the gun. Century additionally argues that these claims

   do not advance the interests of purchasers who seek original parts and want the rifles as

   collectables, but again, offers no analysis of how either of those interests departs from those

   advanced by the named Plaintiffs, who seek damages based on a theory that the value of the rifle

   was less than perceived as a result of Century’s alleged deceptive acts.             The undersigned

   disagrees that any of these factual differences precludes a finding of typicality.

          Century further challenges Plaintiffs Morris and Smith as atypical because, Century

   contends, each purchased their Class Weapons after learning of the defect. Century does not

   develop this argument further or offer any legal analysis of the impact of the Plaintiffs’ alleged

   knowledge on a finding of typicality. Plaintiffs similarly dispute the fact of their knowledge of

   the defect but undertake no analysis of its impact on typicality.

          With respect to Mr. Morris, the evidence on which Defendants rely does not demonstrate

   his knowledge of the defect before buying the Class Weapon that forms the basis for his

   allegations. Century relies on his purchase of the AES-10 in October 2016. That is not the



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   firearm on which Mr. Morris bases his claim. Mr. Morris’s inclusion as a class representative

   appears to relate to his purchase of a different firearm, the O-PAP (ECF No. 1 at ¶ 38).

   Moreover, Mr. Morris testified that he did not know this firearm was defective at the time of

   purchase (ECF No. 87-6 at 99).

          Plaintiff Smith presents a different scenario. Mr. Smith obtained his rifle on his

   eighteenth birthday, February 21, 2016, from his father. Century advanced evidence that Mr.

   Smith sent an email to Century weeks before, on February 4, 2016, complaining about a defect in

   his rifle. Century presented the email to Mr. Smith’s father at deposition and he confirmed that

   on the date the email was sent, he still owned the weapon, and that he did not send the email.

   Century argues that this communication proves that Plaintiff Smith had knowledge of the Class

   Defect before he purchased his weapon, and bought it notwithstanding.

          In response, Plaintiffs attached to their Reply a declaration executed by Plaintiff Smith

   after his deposition, in which he offers an explanation for denying at his deposition that he ever

   contacted Century with a complaint regarding the Class Defect (ECF No. 104-10). Plaintiff

   Smith explained in his declaration that the defect described in his February 4, 2016 email was

   not the alleged Class Defect but rather a second defect he identified in the weapon: the safety

   may be installed in a manner that allows the gun to fire in the safe position, and not fire in the

   “fire” position. The declaration is most notable, however, for what it does not say: it does not

   deny Century’s specific charge that Mr. Smith knew about the alleged Class Defect before he

   bought his firearm. Mr. Smith’s deposition testimony similarly does not state that he bought the

   rifle before learning of the alleged defect. Mr. Smith testified that he learned about the defect

   from an article he viewed on Facebook, but he did not specify whether that occurred before or

   after he purchased the weapon (acknowledging only that it occurred after the related Erickson



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   suit was filed in January 2016). Indeed, the only record evidence from which it could be inferred

   that Mr. Smith bought the rifle without knowledge of the defect comes in his response to his own

   counsel’s question: would he have bought the gun if he had known? He answered in the negative

   (ECF No. 82-7 at 53).

          The competent record evidence is, at best, conflicted on this point. The Court does not

   need to decide this factual dispute in order to resolve the present motion. “Merits questions may

   be considered to the extent—but only to the extent—that they are relevant to determining

   whether the Rule 23 prerequisites for class certification are satisfied.” Reyes v. BCA Fin. Servs.,

   Inc., No. 16-24077-CIV, 2018 WL 3145807, at *7 (S.D. Fla. June 26, 2018), reconsideration

   denied, No. 16-24077-CIV, 2018 WL 5004864 (S.D. Fla. Oct. 15, 2018) (quoting Amgen Inc. v.

   Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 466 (2013). The Court cannot resolve factual

   disputes, on which Plaintiffs bear the burden of proof, in Plaintiffs’ favor. Faced with a direct

   challenge to Mr. Smith’s claims as atypical on the basis that he had knowledge of the defect and

   bought the gun with this knowledge, Plaintiffs failed to adduce competent evidence showing that

   he did not. If he knew, it could break the causal link between Defendants’ deceptive acts and his

   damages. See Marcus v. BMW of N. Am., LLC, 687 F.3d 583, 598–99 (3d Cir. 2012). In Marcus,

   the court found no error in determining typicality satisfied despite defendant’s challenge to the

   named plaintiff’s relative ignorance about the deal before entering, observing that if the opposite

   were true—that the plaintiff did indeed know about the alleged defect in the product before

   acquiring it—that would create a typicality problem.

          The complaint herein alleges that “Plaintiffs and Class Members would not know of the

   defect, and by the exercise of reasonable diligence, Plaintiffs and class members could not have

   known of the defect” (ECF No. 1 at ¶ 13). Plaintiffs moreover identify in their motion questions



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   common to the class that assume ignorance of the defect at the time of purchase.13 Plaintiffs have

   failed to show, by a preponderance of the evidence, that Plaintiff Smith is typical in this respect,

   specifically, that he did not know about the alleged Class Defect at the time he purchased the

   firearm. See Hutson v. Rexall Sundown, Inc., 837 So. 2d 1090, 1093 (Fla. 4th DCA 2003)

   (affirming trial court’s finding that plaintiffs with knowledge of the alleged deceptive act failed

   to satisfy typicality requirement for FDUTPA claim). Accordingly, he cannot serve as a class

   representative.

                     b. Rule 23(a)(4)-Adequacy of Representation

           Rule 23(a)(4) requires a showing that “the representative parties will fairly and

   adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). The analysis “encompasses

   two separate inquiries: (1) whether any substantial conflicts of interest exist between the

   representatives and the class; and (2) whether the representatives will adequately prosecute the

   action.” Valley Drug Co. v. Geneva Pharms., Inc., 350 F.3d 1181, 1189 (11th Cir. 2003) (citation

   omitted). This prong also requires a determination that plaintiff’s counsel is “qualified,

   experienced and generally able to conduct the proposed litigation.” Bowe v. Pub. Storage, 318

   F.R.D. 160, 172 (S.D. Fla. 2015).

           While Century did not challenge Plaintiffs’ counsel’s adequacy of representation in their

   briefing, at the hearing, defense counsel suggested that factual variations among plaintiffs, like

   their knowledge of the defect at the time of purchase, preclude a finding of adequacy of

   representation. Except for Plaintiff Smith as explained above, these variances do not rise to the

   level of a substantial conflict of interest exists between the representatives and the class.

   Moreover, the undersigned finds that Plaintiffs and their counsel are actively participating in this

   13
     Two such examples are whether the average customer was likely to be misled by Century’s omissions about the
   Class Defect; and whether Century’s omissions would have caused Plaintiffs and the class to alter their behavior,
   including by not purchasing the Class Weapons.

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   litigation and adequately representing the interests of potential class members. As for Plaintiffs’

   counsel, they are well-qualified to pursue this action on behalf of their clients and have

   demonstrated skill in pursuing this litigation. Plaintiffs have, therefore, satisfied the adequacy of

   prong of Rule 23(a).

          C. Rule 23(a)(2) and 23(b)(3)—Commonality & Predominance

          Rule 23(a)(2)’s commonality requirement demands “questions of law or fact common to

   the class.” Fed. R. Civ. P. 23(a)(2). As with numerosity, the Eleventh Circuit has described the

   commonality requirement as a “low hurdle” or a “light burden,” as commonality “does not

   require that all questions of law and fact raised be common.” Williams v. Mohawk Indus., Inc.,

   568 F.3d 1350, 1356 (11th Cir. 2009); Vega, 564 F.3d at 1268. The Supreme Court has found

   that the commonality inquiry requires the plaintiff to demonstrate that the class members “have

   suffered the same injury.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350, 131 S. Ct. 2541,

   2551, 180 L. Ed. 2d 374 (2011) (internal citation omitted). Additionally, the court must take into

   account whether certification of the class will “generate common answers to drive the resolution

   of the litigation.” Id. Even “a single common question” will suffice. Id. at 359. Though

   Defendants challenge commonality on the grounds that no uniform defect exists, Plaintiffs have

   raised multiple issues common to the class, including whether Century was aware of the alleged

   defect, whether the disclosures made by Century were likely to deceive an average consumer.

   This is a low hurdle, and Plaintiffs have met it here.

          Predominance, while similar to the commonality requirement under Rule 23(a)(2), is “far

   more demanding.” Vega, 564 F.3d at 1270 (11th Cir. 2009) (internal citation omitted). Common

   issues of fact and law predominate if they have a direct impact on every class member’s effort to

   establish liability that is more substantial than the impact of any individualized issues in



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   resolving the claims of each class member. See Sacred Heart Health Sys., Inc. v. Humana

   Military Healthcare Servs., Inc., 601 F.3d 1159, 1170 (11th Cir. 2010). However, common

   issues will not predominate over individual questions if “as a practical matter, the resolution of

   [an] overarching common issue breaks down into an unmanageable variety of individual legal

   and factual issues.” Babineau v. Fed. Express Corp., 576 F.3d 1183, 1191 (11th Cir. 2009). The

   court’s inquiry is typically focused on “whether there are common liability issues which may be

   resolved efficiently on a class-wide basis.” Brown v. SCI Funeral Servs. of Fla., 212 F.R.D. 602,

   606 (S.D. Fla. 2003). To conduct this inquiry, the Court must consider the cause of action and

   “what value the resolution of the class-wide issue will have in each member’s underlying cause

   of action.” Rutstein v. Avis Rent–A–Car Sys., Inc., 211 F.3d 1228, 1234 (11th Cir. 2000).

          Plaintiffs argue that common issues predominate because this action arises from a

   common course of conduct, and Plaintiffs’ claims do not depend on any individualized issues.

   However, as explained below, Plaintiffs’ claims include elements in which individual issues

   predominate.

              a. FDUTPA

                  1. Choice of Law

          The parties disagree over whether there are sufficient contacts with Florida to justify the

   application of Florida substantive law to a nationwide class and whether FDUTPA applies to all

   class members’ claims, so that there is a predominance of common legal issues. Renaissance

   Cruises, Inc. v. Glassman, 738 So. 2d 436 (Fla. 4th DCA 1999). If not, common issues of law do

   not predominate, because the claims of non-resident consumers would require the application of

   consumer protection laws from each of the states where the deceptive trade practice occurred.




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          Century argues that Plaintiffs Melton and Morris cannot bring their claims under

   FDUTPA because neither one purchased their rifles in Florida, nor lives in Florida. Plaintiff

   Melton, a resident of Tennessee, purchased his rifle in Arizona; and Plaintiff Morris resides in

   and purchased his rifle in Illinois. Focusing on the place of purchase as the site of injury, Century

   contends that a certified class would require the Court to apply the respective consumer

   protection laws for each state in which a Class Weapon was purchased. Plaintiffs focus on

   Century’s acts committed in Florida, and contend that Florida has a strong interest in deciding

   this case. Plaintiffs alternatively seek certification of classes based on the state consumer laws of

   Florida, Arizona, and Illinois, the states in which the named Plaintiffs purchased their Class

   Weapons and thus, the place where their respective injury occurred.

          Prior to engaging in a choice of law analysis, the Court must first determine whether a

   true conflict of law exists. Pycsa Panama, S.A. v. Tensar Earth Techs., Inc., 625 F. Supp. 2d

   1198, 1219 (S.D. Fla. 2008), aff’d, 329 F. App’x 257 (11th Cir. 2009). A true conflict exists

   when “two or more states have legitimate interests in a particular set of facts in litigation, and the

   laws of those states differ or would produce different results in the case.” Walker v. Paradise

   Grand Hotel, Ltd., No. 01-3564-CIV, 2003 WL 21361662, at *2 (S.D. Fla. Apr. 25, 2003), aff'd,

   107 F. App’x 894 (11th Cir. 2004). In this case, Florida’s and Illinois’s consumer protection laws

   are similar, and neither require a showing of reliance, accordingly there is no conflict of law

   between Florida and Illinois. See Mednick v. Precor, Inc., 320 F.R.D. 140, 150 (N.D. Ill. 2017).

   Arizona’s consumer protection law, however, does require a consumer to show reliance on the

   deceptive act. See Kuehn v. Stanley, 208 Ariz. 124, 129, 91 P.3d 346, 351 (Ct. App. 2004). Thus,

   a plaintiff that may have a cognizable claim under Florida law, may not have a claim under

   Arizona law, if the plaintiff cannot show reliance on the deceptive act. Because both Florida and



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   Arizona law have a legitimate interest in Plaintiffs’ unfair trade practice claim and the laws of

   these states differ, a true conflict exists.

           Having determined that a true conflict exists, the Court applies Florida’s conflict of laws

   rules to determine whether Florida law would apply to the unfair trade practice claims of every

   putative class member. In a diversity action, a federal court applies the conflict of laws rules of

   the state in which it sits. Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487, 496 (1941). Florida

   utilizes the “most significant relationship” test of the Restatement (Second) of Conflict of Laws §

   145 (1971) to determine which state’s laws apply to tort claims, including FDUTPA.

   Montgomery v. New Piper Aircraft, Inc., 209 F.R.D. 221, 225 (S.D. Fla. 2002). Courts consider

   four types of contacts to determine which states have an interest in the matter: (1) the place

   where the injury occurred; (2) the place where the conduct causing the injury occurred; (3) the

   domicile, residence, nationality, place of incorporation and place of business of the parties, and

   (4) the place where the relationship, if any, between the parties is centered. See Restatement

   (Second) of Conflict of Laws § 145 (1971).

           Because the injury alleged arises from the sale of a defective product and Defendants’

   alleged omissions about that alleged defect, place of injury is not as significant as it would be in

   a personal injury dispute. See Cohen v. Implant Innovations, Inc., 259 F.R.D. 617, 626 (S.D. Fla.

   2008). Plaintiffs’ injuries occurred when, and where, each member purchased his or her Class

   Weapon: for Plaintiff Melton, in Arizona; Morris, in Illinois; and Plaintiffs Smith, Johnson and

   Valdes each purchased their rifles in Florida. Thus the injury occurred in Florida, Arizona, and

   Illinois.

           “When the injury occurred in two or more states . . . the place where the defendant’s

   conduct occurred will usually be given particular weight in determining the state of the



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   applicable law.” Restatement (Second) of Conflict of Laws § 145 cmt e (1971). Plaintiffs argue

   that Century’s conduct occurred in Florida, advancing the following facts in support: Century’s

   corporate headquarter and customer service representatives are located in Florida, which include

   at least twenty-five employees (ECF No. 82-1); Century’s registered agent and CEO, Michael

   Sucher, works in Florida, as do two other company officers (ECF No. 82-10); and for thirty years

   Century had an entity called Century Arms Inc. of Florida registered to do business in Florida

   (ECF No. 82-11). Moreover, three of the five named Plaintiffs bought their rifles in Florida,

   evidencing that Century avails itself of this market. Century does not refute these facts but

   advances evidence that it imports, manufacture, inspects, and ships its rifles from its factories in

   Vermont, and the contested manuals that Plaintiffs’ allege fail to disclose the defect originate

   from Vermont. The conduct causing the alleged injury occurred in Florida and Vermont.

          Where one of the parties is domiciled or does business in a given state will usually carry

   little weight. Restatement (Second) of Conflict of Laws § 145 cmt. e (1971). Defendant Century

   Arms, Inc. is registered to do business in Florida and has a Florida mailing address, though it is

   domiciled in Vermont (ECF Nos. 82-1, 82-10, 87-4). Century International Arms, Corp. is

   located in Vermont. Century Arms of Vermont, Inc. is a d/b/a for Century Arms, Inc., and was

   created to do business in Florida. Plaintiffs are residents of Florida, Tennessee, and Illinois.

   Plaintiffs’ proposed alternative class definition would include “[a]ll individuals in the

   jurisdiction of Arizona, Florida, and Illinois” who purchased a Class Weapon before the class

   date. Because Arizona is not the state of any Plaintiffs’ residence but the place in which Plaintiff

   Melton purchased his rifle, presumably the proposed class would include class members residing

   in any and all states, who purchased their weapons in any one of the three delineated states. This

   assumption is consistent with Plaintiffs’ primary class definition, which includes all individuals



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   in the United States. Accordingly putative class members are residents of all 50 states and the

   District of Columbia. This contact is neutral.

           The final contact, the place of the parties’ relationship, is similarly neutral. Neither party

   presented evidence with respect to this contact. However, none of the Plaintiffs purchased

   directly from Century, nor is any other contractual or other relationship alleged.

           Having identified the possible states with interests in this dispute, the Court is guided by

   Section 6 of the Restatement (Second) of Conflict of Laws to determine which sovereign has the

   most significant contact. Judge v. Am. Motors Corp., 908 F.2d 1565, 1569 (11th Cir. 1990).

   Defendants generally contest Plaintiffs Melton’s and Morris’s standing to bring their FDUTPA

   claims, but offer no analysis to demonstrate which of the other potential sovereigns have a

   greater interest.

           Under the facts developed to date, Florida has the most significant interest in having its

   laws applied to this dispute. First, three of the five Plaintiffs reside in and purchased their Class

   Weapons here; it is undisputed that the alleged injury to those three Plaintiffs occurred here in

   Florida. Defendants raise no challenge to the application of Florida law to those Plaintiffs.

   Similarly, it is still uncontested that Defendants conduct significant and related business activity

   in Florida, including having the presence of its CEO and its customer service team in Florida.

   And while Defendants aver that their more significant business conduct occurs in Vermont, not

   Florida, the nature of the alleged misconduct (deception by omission) makes it difficult to say

   that such conduct occurred in Vermont to the exclusion of Florida. Finally, and importantly, the

   Court notes that Florida law will be applied to these claims: it is undisputed that three of the five

   Plaintiffs can maintain their FDUTPA claims against Defendants herein, and that those claims

   will be adjudicated by this Court.



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          In sum, no state has a greater interest than Florida does in the application of its laws to

   decide Defendants’ liability for the deceptive acts alleged. Accordingly, the undersigned rejects

   Defendants’ challenge to predominance predicated on the grounds that the Court would have to

   apply multiple state consumer laws, and proceeds to analyze predominance under the elements of

   a single state law: FDUTPA.

                  2. Applying FDUTPA, Common Issues Do Not Predominate

          A plaintiff asserting a claim under FDUTPA must establish: “(1) a deceptive act or unfair

   practice; (2) causation; and (3) actual damages.” Harris v. Nortek Glob. HVAC LLC, No. 14-

   CIV-21884, 2016 WL 4543108, at *12 (S.D. Fla. Jan. 29, 2016) (internal citations omitted). To

   satisfy the predominance requirement, a plaintiff must therefore demonstrate that “the individual

   injury resulting from the alleged FDUTPA violation was capable of proof at trial through

   evidence that [was] common to the class rather than individual to its members.” Id. (internal

   citations and quotations omitted). Accordingly, this inquiry requires that the alleged damages

   from the injury be “measurable on a class-wide basis through use of a common methodology.”

   Id. (internal citations and quotations omitted).

                         i.   Deceptive Act or Unfair Practice

          Plaintiffs’ FDUTPA claims are premised on Century’s alleged failure to disclose the

   alleged defect in the firearms. The Complaint alleges that “century violated FDUTPA by failing

   to disclose to and concealing from Plaintiffs, Class Members, prospective purchasers, and the

   public the Safety Device defect in the Class Rifles and Pistols.” (ECF No. 1 ¶ 60). Defendants

   argue that Plaintiffs cannot prove a class-wide deceptive act because the putative class members

   were not uniformly exposed to the alleged deception. Specifically, Defendants contend that in

   2008, they revised their manuals to disclose the condition that may cause the rifle to fire: that the



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   safety was capable of rotating above the dust cover. The putative class members would include

   those who were exposed to the manuals before and after that revision (and subsequent revisions).

   Defendants further observe that the named Plaintiffs have had varied experiences with the

   manuals: some have read it, but others have not, making it impossible to prove that, uniformly,

   the alleged deficiency in the manual constitutes deceptive act with respect to the varying class

   members.

          A “deception” occurs when there is a “representation, omission, or practice that is likely

   to mislead the consumer acting reasonably in the circumstances, to the consumer’s detriment.”

   Zlotnick v. Premier Sales Grp., Inc., 480 F.3d 1281, 1284 (11th Cir. 2007) (internal citations and

   quotations omitted). Defendants’ arguments here fail to appreciate the nature of the deception

   alleged, which is a complete failure to disclose a defective condition that resulted in a less-

   valuable product than the purchaser expected. Plaintiffs allege that none of the manuals

   meaningfully disclosed the defect because none specified that the rifle could fire when the safety

   was rotated beyond the “safe” position. To the extent there was a defect about which Defendants

   knew but failed to disclose to the purchasing public, that deceptive act is susceptible to class-

   wide proof. Common issues predominate with respect to the first FDUTPA element.

                       ii.   Causation

          In order for a party to be entitled to any relief under FDUTPA, the party “must not only

   plead and prove that the conduct complained of was unfair and deceptive but the consumer must

   also plead and prove that he or she was aggrieved by the unfair and deceptive act.” Cohen v.

   Implant Innovations, Inc., 259 F.R.D. 617, 644 (S.D. Fla. 2008) (internal citations and quotations

   omitted). FDUTPA “does not require a plaintiff to prove actual reliance on the alleged conduct.”

   Cold Stone Creamery, Inc. v. Lenora Foods I, LLC, 332 F. App’x 565, 567 (11th Cir. 2009).



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   Instead, a plaintiff must prove that “the alleged practice was likely to deceive a consumer acting

   reasonably in the same circumstances.” Id. (internal citations and quotations omitted).

          Plaintiffs contend that Century’s failure to disclose the alleged defect in “their

   distribution, sale, marketing, and/or advertisement of the Class Rifles and Pistols, including

   information in Century’s Manual[s],” caused consumers to purchase firearms that have

   diminished value (ECF No. 1 ¶ 58). To satisfy predominance, Plaintiffs must show that their

   claims are susceptible to class-wide proof of causation. Plaintiffs rely on their premise that a

   uniform defect exists in all Class Weapons, and Century’s uniform failure to disclose same.

   Defendants argue that Plaintiffs cannot show class-wide evidence of causation because they

   cannot prove the existence of a uniform defect; nor can Plaintiffs prove uniformly that the failure

   to disclose caused the injuries alleged.

          Because Plaintiffs’ FDUTPA claim is premised on Century’s failure to notify the class of

   the alleged defect, an essential question to answer at trial will be whether the Class Weapons are

   in fact defective and capable of accidentally discharging. If Plaintiffs cannot prove that all Class

   Weapons have the fully automatic safety selector, which Plaintiffs allege causes the firearms to

   accidentally discharge, Plaintiffs cannot successfully show that Century’s allegedly deceptive

   practice caused the putative class members any harm. See Harris v. Nortek Glob. HVAC LLC,

   No. 14-CIV-21884, 2016 WL 4543108, at *13 (S.D. Fla. Jan. 29, 2016) (denying motion for

   class certification where evidence failed to demonstrate uniformity of defect alleged and not

   disclosed).

          As this Court has already noted, the evidence in the record demonstrates that the Class

   Weapons do not all have the fully-automatic safety selectors about which Plaintiffs complain.

   Mr. Burnor testified at the hearing that the safety selectors in Century’s imported firearms are



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   usually not replaced, and that safety selectors vary, depending on manufacture and possibly

   country of origin (ECF No. 193 at 165). Plaintiffs’ expert, Mr. Byron, conceded these variances

   at the hearing (ECF No. 193 at 58-59). Because the allegedly defective safety selector does not

   exist uniformly in the Class Weapons, for each of the “over one million” potential class members

   in Plaintiffs’ proposed class definition this Court would need to determine whether the Plaintiff

   at issue actually suffered a harm from Century’s allegedly deceptive practice. For each plaintiff,

   the Court would need to know whether the firearm at issue contained a fully-automatic safety

   selector at the time of purchase, resulting in a diminished value to the plaintiff. Determining

   whether or not any given plaintiff actually suffered a harm from Century’s allegedly deceptive

   practice would require individualized proof pertaining to each individual plaintiff (ECF No. 87-4

   at 172-173). See Harris, 2016 WL 4543108, at *13; City of St. Petersburg v. Total Containment,

   Inc., 265 F.R.D. 630, 652 (S.D. Fla. 2010).

          Defendants additionally challenge Plaintiffs’ ability to prove causation with common

   proof on the grounds that “many” purchasers are aware that their rifle is configured with the

   original, fully automatic safety selector; citing Marcus v. BMW of N. Am., LLC, 687 F.3d 583,

   611 (3d Cir. 2012), Defendants contend that this individualized knowledge of the defect would

   predominate and defeat class certification. Plaintiffs distinguish Marcus on the grounds that the

   defendants there presented significant evidence that the allegedly omitted information was

   available to class members from various sources, averring that there is no such evidence here.

   While there is record evidence of availability of the information regarding the alleged defect,

   including Plaintiff Smith’s testimony that he read an article about the defect on Facebook, which

   linked to a video on YouTube, the evidence of availability of the information on social media is




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   not sufficient to determine whether a significant number of potential class members knew about

   the defect before purchasing their weapons.

                      iii.   Damages

          Because the allegedly defective safety selector does not exist uniformly in the Class

   Weapons, for each of the “over one million” potential class members in Plaintiffs’ proposed

   class definition, this Court would need to determine whether the plaintiff at issue purchased a

   firearm that actually exhibited the defect has a suffered a harm from Century’s allegedly

   deceptive practice. Determining whether or not any given plaintiff actually suffered a harm from

   Century’s allegedly deceptive practice would require individualized proof pertaining to each

   individual plaintiff, for the reasons explained above. See Harris v. Nortek Glob. HVAC LLC, No.

   14-CIV-21884, 2016 WL 4543108, at *13 (S.D. Fla. Jan. 29, 2016); City of St. Petersburg v.

   Total Containment, Inc., 265 F.R.D. 630, 652 (S.D. Fla. 2010). Accordingly, individual issues of

   fact predominate over the common issues in demonstrating whether the class members were

   actually aggrieved by Defendants’ alleged deceptive practice.

          Predominance also requires that damages resulting from the injury be measurable on a

   class-wide basis through use of a “common methodology.” Comcast Corp. v. Behrend, 569 U.S.

   27, 30 (2013) (internal citations and quotations omitted). Actual damages for a claim brought

   under FDUTPA are “the difference in the market value of the product or service in the condition

   which it was delivered and its market value in the condition in which it should have been

   delivered…” Rollins, Inc. v. Butland, 951 So. 2d 860, 869 (Fla. 2d DCA 2006) (internal citations

   and quotations omitted); see also Harris, No. 14-CIV-21884, 2016 WL 4543108, at *15.

   Although the Eleventh Circuit has held that individualized damages issues will seldom upset a

   case otherwise suited for class certification, “[w]here there are significant individualized



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   questions going to liability…the need for individualized assessments of damages is enough to

   preclude 23(b)(3) certification.” Owner-Operator Indep. Drivers Ass'n, Inc. v. Landstar Sys.,

   Inc., 622 F.3d 1307, 1326 (11th Cir. 2010) (internal citations and quotations omitted).

          Plaintiffs propose class-wide damages that are measured by either diminution in value of

   the firearms as a result of the alleged defect, or the value of Defendant’s unjust enrichment.

   Plaintiffs claim that proper damages calculation is the cost of replacing the Class Weapons with

   properly functioning safety selectors (ECF No. 102 at 13). The damages model presented by

   Plaintiffs’ expert, Mr. Byron, would require individualized assessment. Mr. Byron suggests that

   replacing each allegedly defective safety lever would cost between $143.44 and $365.74

   “depending on safety selected, installation difficulty and shipping” (ECF No. 83 at 35). Plaintiffs

   provide a chart a generalized chart of shipping charges across the United States, and suggest that

   safeties can range from $19.99 to $58.99 (ECF No. 83 at 33-34). Variations in the cost of safety

   levers and the corresponding installation difficulties are presumably based on the individualized

   nature of the firearms at issue. Thus, individualized proof of which safety lever is required for

   which firearm, and how difficult substitution of the same would be for each firearm would be

   necessary. Plaintiffs do not offer how such determinations would be rendered on a class-wide

   basis for over “one million weapons.” Thus, while the issue of damages is not alone

   determinative, the proposed individualized damages calculations contribute to a lack of

   predominance in this case. See City of St. Petersburg, 265 F.R.D. at 642 (holding that the

   individualized nature of the class members’ damages contributes to a finding that individual

   issues predominate in the case); Harris, No. 14-CIV-21884, 2016 WL 4543108, at *15 (finding

   that the proposed individualized damages calculation weighed against a finding that common

   issues predominate).



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           Because individual issues predominate as to the question of common design defect, in

   conjunction with the proposed damages model that require individual proof and calculation, class

   certification of Plaintiffs’ FDUTPA claim is inappropriate pursuant to Rule 23(b)(3).

              b. Unjust Enrichment Claim

          Plaintiffs’ unjust enrichment claim similarly fails to satisfy predominance. The essential

   elements of unjust enrichment in Florida are: “(1) a benefit conferred upon defendant by the

   plaintiff, (2) the defendant’s appreciation of the benefit, and (3) the defendant’s acceptance and

   retention of the benefit under circumstances that make it inequitable for him to retain it without

   paying the value thereof.” Vega, 564 F.3d at 1274 (11th Cir. 2009) (internal citations and

   quotations omitted). Before a court can grant relief on an unjust enrichment claim, a court “must

   examine the particular circumstances of an individual case and assure itself that, without a

   remedy, inequity would result or persist.” Id. This necessitates inquiry into the “individualized

   equities attendant to each class member,” and as such, “courts, including ours, have found unjust

   enrichment claims inappropriate for class treatment.” Id.

          In this case, Plaintiffs argue that a nationwide class for Plaintiffs’ unjust enrichment

   claim is appropriate because Defendants uniformly deceived customers by “not disclosing the

   defect and not fixing the defect.” (ECF No. 81 at 15). Plaintiffs rely on In re Checking Account

   Overdraft Litig., 307 F.R.D. 656, 676 (S.D. Fla. 2015) for the proposition that a nationwide

   should be certified under the instant circumstances. However, in that case, the district court

   specifically found that class-wide proof was available to show the defendant deceived its

   customers “through uniform misrepresentations and concealment” of important information and

   that substantial evidence existed to demonstrate that defendant’s actions were uniformly

   concealed from consumers. No such evidence of uniformity exists here. As explained above,



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   material differences exist between the firearms at issue that would necessitate individualized

   inquiries to determine the extent to which individual inequities exists as to class members. See

   Harris, No. 14-CIV-21884, 2016 WL 4543108, at *15; see also Kunzelmann v. Wells Fargo

   Bank, N.A., No. 9:11-CV-81373-DMM, 2013 WL 139913, at *10 (S.D. Fla. Jan. 10, 2013). In

   sum, Plaintiffs have failed to demonstrate that common issues of law and fact predominate as to

   their unjust enrichment claims.

            Because the Court finds that Plaintiffs have failed to meet the predominance requirement

   for certification pursuant to Rule 23(b)(3) as to both their FDUTPA and unjust enrichment

   claims, it does not reach the question of a superior means of adjudication. See Vega, 564 F.3d at

   1278; see Harris, No. 14-CIV-21884, 2016 WL 4543108, at *15.

                                        IV.    RECOMMENDATION

            For the foregoing reasons, the undersigned REPORTS AND RECOMMENDS that

   Plaintiff’s Motion for Class Certification (ECF No. 81) should be DENIED.

            Pursuant to Local Magistrate Rule 4(b), the Parties have fourteen (14) days from the date

   of this Report and Recommendation to serve and file written objections, if any, with the

   Honorable Federico A. Moreno, United States District Judge. Failure to timely file objections

   shall bar the Parties from de novo determination by the District Judge of any factual or legal

   issue covered in the Report and shall bar the parties from challenging on appeal the District

   Judge’s Order based on any unobjected-to factual or legal conclusions included in the Report.

   See 28 U.S.C. § 636(b)(1); 11th Cir. Rule 3-1; Patton v. Rowell, 2017 WL 443634 (11th Cir.

   Feb. 2, 2017); Cooley v. Commissioner of Social Security, 2016 WL 7321208 (11th Cir. Dec. 16,

   2016).

            RESPECTFULLY SUBMITTED this 28th day of November, 2018.



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                                             LAUREN LOUIS
                                             UNITED STATES MAGISTRATE JUDGE




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